Case 2:23-cr-00197-JS-AYS Document 15 Filed 06/02/23 Page 1 of 2 PageID #: 54




JOSEPH W. MURRAY, ESQ.
185 Great Neck Road, Suite 461
Great Neck, New York 11021                                              ADMITTED TO PRACTICE
T: (646) 838-1702                                                                     New York State
F: (646) 514-4771                                                        Eastern District of New York
C: (718) 514-3855                                                       Southern District of New York
E: Joe@Jmurray-law.com



                                             June 2, 2023

VIA: ECF

The Honorable Anne Y. Shields
United States Magistrate Judge
Eastern District of New York
100 Federal Plaza, Courtroom 840
Central Islip, New York 11722

       Re:     U.S. v. George Anthony Devolder Santos, 23-CR-197(JS)(AYS)
               Defendant’s request for an extension to respond to motion to unseal suretors

Dear Judge Shields,

       I am the attorney of record for Congressman George Santos in connection with the
above-referenced criminal matter. Two letter request have been submitted on behalf of media
organizations, essentially seeking the unsealing of the identity of our suretors, judicial records,
and related proceedings. Your Honor has given the Government and the Defendant until today,
June 2, 2023 to respond. While I have been working diligently on our response, due to the
gravity of this situation and my efforts to distinguish our case from others, I am respectfully
requesting a brief extension of Defendant’s deadline to respond until Monday, June 5, 2023.

      I have conferred with AUSA Ryan Harris, who has authorized me to advise the Court that
the Government has no objection to the Defendant’s request for this brief extension of time.
However, to be clear, the Government is not seeking any extension of time for their response.

       I called and spoke to Ms. Dana Green, Senior Counsel from the New York Times who
indicated that she would object to any extension of time for Defendant, in sum and substance,
because it would result in a delay of the First Amendment right of access to these records.
Pursuant to Section III. of Your Honor’s Individual Practice rules, I respectfully pointed out to
Ms. Green that it a usual courtesy among attorneys to grant reasonable requests for
adjournments, pointing out that I am only asking for and extension to Monday, and Ms. Green
again indicated that she would not consent.

      I reached out to Mr. Jeremy A. Chase at the law firm of Davis, Wright, Tremaine, LLP,
and a person by the name of “Amabel” indicated that Mr. Chase was out of the office. I left a
voicemail for Mr. Chase and called back to speak to “Amabel” again and she indicated that she
Case 2:23-cr-00197-JS-AYS Document 15 Filed 06/02/23 Page 2 of 2 PageID #: 55




would email Mr. Chase. After waiting just a few minutes longer, I again called and spoke to
Amabel who indicated that she did email Mr. Chase but had not yet heard back from him.

      This is Defendant’s first request for an extension of time.

      The requested extension of this deadline will not affect any other scheduled dates.

      Please feel free to contact me with any questions you may have.


                                                     Respectfully,


                                                     Joseph W. Murray, Esq.
Cc:   -   all parties appearing via ECF
      -   Dana Green, Senior Counsel for The New York Times at Dana.Green@nytimes.com
      -   Jeremy A. Chase of Davis, Wright, Tremaine, LLP., at jeremychase@dwt.com
